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ElVl:D by ] pach
Nl` 11 10 ?1118 date initials No.

Lc,;at i‘wgtam;, Gepanmcsil

A C‘.OMPLAINT UNDER THE CIVIL Rl GH'['S A (..‘T. 42 U.S.(`_‘. § 1983

UN.ITED S'[`ATES D[S'I`RICT COURT
E DIS'I`RIC'I` OF LOU.l`S

 

 

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Instructions for Filing Complaint by I’risoncrs
Undel‘ the Civil Rights' Act, 42 U.S.C. §1983.

"I` his packet includes two copies ol` a complaint form and one copy of the pauper affidavit

[E XOUABE A_£;A_ISI&LIM, you must file an original and one copy of your
complaint for each defendant you name For exanlp|e, if you name two defenchnts, you must
tile the original and two copies of the complaint You should also keep an additional copy of the
complaint for your own records.

UMABE_A_]M)_.Q_I_KLM, you must file an original and one copy of your
complaint lf the defendants me still employed by the Depamne.nt of Con actions only one

service copy is needed Otherwise, you must supply a copy of the complaint and the service
address for e__a__ch defendant no longer employed by the Departmont. of Corrections.

Allmnias_al_thmmnlaint_mns_tlm_id§n_timl_ eo i»'n_=\l.
'I'he names of all parties must be listed in thc caption and in part III of the complaint
exactly the samo.

ln order for this complaint to be filed, it must be accompanied by the filing fee of
$400.00. In addition, the Unitad States Marsl\al will require you to pay the cost of serving the
complaint on each of the defendants.

 

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If you are unable to pay the filing fee and service costs for this action, you may petition the court to
procech in forma pauperia. For this pnrpoae, a pauper affidavit is included in this packet You must sign the
aiiidavit, and obtain the signature of an authorized officer certifying the amount of money in your inmate
account. If pauper status is granted, you will be required to pay an initial partial filing fee and thereafter_, prison

officials shall be ordered to forward monthly payments from your inmate account until the- ent.ire filing fee is
paid.

 

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LnGA-L AaGoMsNrs on cITAuoNs. ALso, 1)0 No'r_ maan nxr~rnnrs.

When you have completed this forrn, e-mail the original and copies to the Clerk of the United States

District. Comt for the __EQ § fe ca f 2(,5 f,__ ofLouisiana.

I.

Previous Lawsuits

A_ Have you begim other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to your imprisonment? Yes ( )No (H/

B. l`f` your answer to A is yes_, describe each lawsuit in the space below (l`f there is more than
one la.usuit, describe the additional lawsuits on another piece of paper, using the same outline.)

1. Panies to this previous lawsuit

 

 

 

 

 

Plaintiti`(s):
Defendant(s):
2. Court (if federal court, name they district; if state court, name the parish):
3. Docket number:
4. Name of judge to whom case was assigned:
5. Dis])osit'ion (t`orexample:Was the case dismissed? Was it appealed? ls it still pending?):

 

6. Date o{`i`iling lawsuit

 

7. Dnte ot`disposition:

 

C. Have you had any previously filed federal lawsuits or appeals_. whether or not related to the issues
raised in this complniut, dismissed by any federal court as t`rivolous, malicious, or for failure to state a
claim for which ieliefcm\ be granted'.’ Yes ( ) No ( )

lt` your answer is yes, list the civil action numbers and the disposition ot` each case. You must identify in

which federal district or appellate court the action was brought

Plaoe of present confinement L= curb lrc¢.rtg §l g,‘é; /QG’JL¢¥Q»L]€,(£/'q, A»:?o[ct, L_q.

A. Is there a prisoner grievance procedure in this institution? Yes ('/)'No ( )

 

B. Did you present the facts relating to your complaint in the state prisoner grievance procedure?

Yes ( ) No (t/)/

 

III.

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C.' lfyour answer is YES:

1. Identiiy the administrative grievance procedure number (s) in which the claims raised in this

complaint were addressed
2. What steps did you take?
3. Wliat was the result?

 

 

 

D. Ifyour answer is NO, explain why not:

 

 

 

Parties

(In It.em A below, place your name in the first blank and place your present address m the second blank
Do the same for additional plaintiffs, if any )

A.Nmne ofplainti&`(s): AA{LM /’a/‘/‘lc/‘ QZ( ([‘1[
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In Item B below, place the full name of the defendant in the fast l)lank, his official position in the second

blank, and his place of employment in the third blank. `Use Item t'.? for the names, positions, and places
of employment of any additional defendants

B. Defendant. HOL¢'L 0 iotlLYLI/‘»tavt_ isemployeclas ()U~O[¢¢€. at
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C_ AdditionnlDet`endant /‘r‘ (rt_ is entployedas Qz¢ dad

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Address for Servxce:

D. Additional Defendant, h isemployed as 2 i.O: :j:§i.at at
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E. Additional Defendant, is employed as at

 

Address for Service:

 

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Vl.

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_ Pliintiff’s Declaration

1) I imderstand that I am prohibited from bringing a civil action in forma pauperis ii`, while I was
incarcerated or detained in any facility_. l have brought three or more civil actions or appeals in a court oj`
the United States that were dismissed on the grounds that they were frivolous, malicious_, or failed to
state a claim upon which relief may be granted, unless I am in imminent danger of serious physical
injury.

2) I understand that even if I am allowed to proceed in forma pauperis, I am responsible for paying

the entire filing fee and any cost assessed by the Court, Which, after payment of the partial filing fee,
shall be deducted from my inmate account by my custodian in installment payments as prescribed by
law.

3) I understand that if I am released or transferred, it is my responsibility to keep the Court
infomied of my whereabouts and failure to do so may result in this action being dismissed with

prejudice

Signer.lthis f g day of Zla_»l¢¢“£é g¢\_ 20 {(.

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